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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



UNITED STATES OF AMERICA

-vs-                                                           Case No. 2:08-cr-039 (5)

EDGAR LEONEL LOPEZ
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                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Rule 11, F.R.Cr.P. and

has entered a plea of guilty to Count two (2) of the Superseding Indictment. After examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determine that the

defendant is competent and capable of entering an informed plea, that the guilty plea is

knowingly and voluntary made and that the offense charged is supported by an independent basis

in fact containing each of the essential elements of such offense.

        I therefore RECOMMEND that the plea agreement and the plea of guilty should be

accepted and the Defendant should be adjudged guilty and sentenced accordingly.

        The Defendant remains in the custody of the U.S. Marshal pending sentencing.


Date: March 31, 2008                                     /s/ Terence P. Kemp
                                                         UNITED STATES MAGISTRATE JUDGE

NOTICE

         Failure to file written objections to this Report and Recommendation within ten (10) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. Section 636(b)(1)(B).
